
Affirmed by unpublished PER CURIAM opinion.
Unpublished opinions are not binding precedent in this circuit. See Local Rule 36(c).
PER CURIAM.
In No. 01-2006, Carl C. Hendricks, Jr., appeals from the district court’s order which dismissed as untimely his appeal from the bankruptcy court’s consent order entered May 12, 2002, and denied his motion to conduct further discovery during the pendency of his appeal. In No. 02-2298, Hendricks appeals from the magis*886trate judge’s order enforcing a settlement entered into between the parties in open court.* We have reviewed the record and found no reversible error. Accordingly, we affirm for the reasons stated by the district court and magistrate judge. Hendricks v. Bair, Nos. CA-00-3135-2-18; BK-99-80230 (D.S.C. July 31, 2002; Oct. 23, 2002). We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the court and argument would not aid the decisional process.

AFFIRMED


 The parties consented to the jurisdiction of a magistrate judge pursuant to 28 U.S.C. § 636(c) (2000).

